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   1   David A. Chami, AZ #027585
       david@pricelawgroup.com
   2
       PRICE LAW GROUP, APC
   3   8245 N. 85th Way
       Scottsdale, AZ 85258
   4   T: (818) 600-5564
   5   F: (866) 600-5464

   6   Kian Mottahedeh (SBN 247375)
       John D. Sarai (SBN 259125)
   7
       SM LAW GROUP, APC
   8   16130 Ventura Blvd., Suite 660
       Encino, CA 91436
   9   T: (818) 855-5950
  10   F: (818) 855-5952
       kian@smlawca.com
  11   john@smlawca.com
  12   Attorneys for Plaintiffs,
  13   Arnoldo & Maria Jara

  14
                            UNITED STATES DISTRICT COURT
  15                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                  EASTERN DIVISION
  16
  17
          ARNOLDO & MARIA JARA,                            Case No. 2:17-cv-04598-ODW-RAO
  18
                                   Plaintiffs,
  19                                                       NOTICE OF SETTLEMENT
  20      vs.
  21      GC SERVICES LIMITED
  22      PARTNERSHIP; AND DOES 1
          THROUGH 10, INCLUSIVE,
  23
                                   Defendants.
  24
  25
            NOTICE IS HEREBY GIVEN that Plaintiffs, Arnoldo & Maria Jara, and
  26
  27   Defendant, GC Services Limited Partnership, have settled all claims between them in this

  28   matter. The parties are in the process of completing the final settlement documents and

                                                                                   NOTICE OF
                                                 - 1/2 -                         SETTLEMENT
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   1   expect to file a Stipulated Dismissal with Prejudice within the next forty-five (45) days.
   2
       Plaintiffs request that the Court vacate all pending deadlines and hearings in this matter, as
   3
       there are no remaining defendants. Plaintiffs also request that the Court retain jurisdiction
   4
   5   for any matters related to completing and/or enforcing the settlement.

   6
   7
       Respectfully submitted this 9th day of July 2018.
   8
   9
        /s/David A. Chami                         /s/Stephen H. Turner
  10    David A. Chami, AZ #027585               Stephen H. Turner, SB# 89627
        david@pricelawgroup.com                  Larissa G. Nefulda, SB# 201903
  11
        PRICE LAW GROUP, APC                     LEWIS BRISBOIS BISGAARD &
  12    8245 N. 85th Way                         SMITH LLP
        Scottsdale, AZ 85258                     633 West 5th Street, Ste. 4000
  13    T: (818) 600-5564                        Los Angeles, CA 90071
  14    F: (866) 600-5464                        Telephone : 213.250.1800
                                                 Facsimile : 213.250.7900
  15                                             Stephen.Turner@lewisbrisbois.com
                                                 Larissa.Nefulda@lewisbrisbois.com
  16
       Attorneys for Plaintiffs,                  Attorneys for Defendant,
  17   Arnoldo & Maria Jara                       GC Services Limited Partnership
  18
  19
  20
                                   CERTIFICATE OF SERVICE
  21
              I hereby certify that on July 9, 2018, I electronically filed the foregoing with the
  22
  23   Clerk of the Court using the ECF system, which will send notice of such filing to all

  24   attorneys of record in this matter. Since none of the attorneys of record are non-ECF
  25
       participants, hard copies of the foregoing have not been provided via personal delivery or
  26
       by postal mail.
  27
  28
              /s/Elizabeth Nanez
                                                                                        NOTICE OF
                                                   - 2/2 -                            SETTLEMENT
